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     Counsel for Plaintiff
 7
                                UNITED STATES DISTRICT COURT
 8
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
10 STEVE ALTES, on behalf of himself
                                            Case No. 8:19-cv-01340-JLS-JDE
11 and all others similarly situated,       Pleading Type: Class Action
12                 Plaintiff,
                                            PLAINTIFF’S NOTICE OF SETTLEMENT
13                                          AND O.S.C. RESPONSE
              v.
14
                                            Judge: The Hon. Josephine L. Staton
15 SAMBAZON, INC.,
16                 Defendant.
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                    Altes v. Sambazon, Inc., Case No. 8:19-cv-01340-JLS-JDE
                     PLAINTIFF’S NOTICE OF SETTLEMENT AND OSC RESPONSE
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                                          #:61


 1         The parties are pleased to report that they are in agreement on all major terms of a
 2 class action settlement, and they are working together daily to present the Court with a
 3 complete executed agreement, preliminary approval motion, and proposed plan for class
 4 notice.
 5         They respectfully request the Court discharge the OSC and set the hearing for the
 6 impending motion for preliminary approval of class action settlement for January 10,
 7 2020, or to one of the Court’s three prior civil motion calendars currently marked closed
 8 to the extent a relatively short and unopposed motion can be squeezed in on December
 9 20, December 27, or January 3.
10
11 DATED: October 25, 2019                        Respectfully Submitted,
12                                                s/ Gregory S. Weston
13                                                THE WESTON FIRM
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                                                  Counsel for Plaintiff
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